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                                                                                                                                        E-FILED
                                                                                             Tuesday, 19 September, 2017 01:18:29 PM
                                                                                                          Clerk, U.S. District Court, ILCD
AO 91 (Rev. 1111 I) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                      for the
                                                                                                                FILED
                                                           Central District of Illinois                                  SEP I 5 2017
                  United States of America                               )                                     CLERK OF THE COURT
                                v.                                       )                                      U.S. DISTRICT COURT
                                                                                                            CENTRAL DISTRICT OF ILLINO/S
                                                                         )       Case No.
                        Jason Ballard
                      Ryan C. Robinson                                   )                  17-   rlfj- .309c/-
                                                                         )
                                                                         )
                                                                         )
                          Defendant(s)


                                                     CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      August 27, 2017                 in the county of                Fulton             in the
        Central        District of _ _ _l_lli_n_oi_s _ __            , the defendant(s) violated:

            Code Section                                                           Offense Description
Title 21 , United States Code,                      Possession with intent to distribute 50 grams or more of methamphetamine
Sections 841 (a)(1) and (b)(1)(B)




          This criminal complaint is based on these facts:
See Attached Affidavit




          rif Continued on the attached sheet.
                                                                                    s/ Robert Krivanek

                                                                                             Special Agent Robert Krivanek
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.
                                                                                                       /I   I        I   ,

                                                                                      s/ Tom Schanzle-Haskins
Date:             09/15/2017


City and state:                          Springfield, Illinois
                                                                                                    Printed name and title
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                                   AFFIDAVIT

         I, Robert J. Krivanek, being first duly sworn hereby do depose and

state:

         1.    I am a Special Agent with the Federal Bureau of Investigation, and

have been since August 24, 2014. I have received extensive training in criminal

investigations, specifically violent incident crimes and violent gang investigations.

I have conducted several federal violent gang investigations involving

methamphetamine conspiracies. I have also been involved in the execution of

numerous search warrants. Moreover, I am a federal law enforcement officer

who is engaged in enforcing the criminal laws, including 21 U.S.C. §§ 841 and

846, and I am authorized by the Attorney General to request a search warrant.

         2.    The information contained in this affidavit is based upon my personal

knowledge of this investigation, and upon information provided by other law

enforcement personnel. This affidavit does not contain all the facts known to

agents, only those believed to be necessary to establish probable cause.

         3.    This affidavit is submitted in support of a complaint charging JASON

BALLARD, date of birth: November 8, 1985, and RYAN ROBINSON, date of

birth : February 9, 1984, with possession with intent to distribute 50 grams or

more of a mixture or substance containing a detectable amount of

methamphetamine, a schedule II controlled substance, in violation of Title 21,

United States Code, Sections 841 (a)(1 ), and (b)(1 )(B).



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       4.     I am familiar with the following facts based upon my own personal

observation and upon information officially supplied to me by other law

enforcement agents.

                                PROBABLE CAUSE

       5.     On August 27, 2017, officers with the Quincy Police Department

(QPD) were conducting surveillance on a residence located at 2112 Rainbow

Lane, Quincy, IL, 62305. While conducting surveillance, officers saw EVERETT

E. HUMPHREY'S silver Nissan SUV parked in the driveway under the carport of

2112 Rainbow Lane. Officers also saw a black Jeep Grand Cherokee with tinted

windows and California registration number 7YLM750 parked behind the silver

Nissan SUV registered to JOHN B. VARLEY. A third car, a Chrysler 300 with

Illinois registration Y985300 and driven by HUMPHREY, was parked in front of

2112 Rainbow Lane. Approximately 45 minutes later, officers saw the Jeep

Grand Cherokee and Chrysler 300 leave the house and drive in opposite

directions.

      6.      On August 27, 2017, a search warrant was executed on the

residence at 2112 Rainbow Lane. Present in the house during the execution of

the search warrant was EVERETT HUMPHREY, date of birth: September 25,

1957 (EVERETTE. HUMPHREY's father). Inside the residence, officers found

numerous baggies containing a crystal-like substance that field-tested positive for

methamphetamine. In total, officers found approximately 10.18 pounds (4.6

kilograms) of methamphetamine. The methamphetamine was separated into

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numerous baggies and found in various places in the residence, including in the

living room closet, a living room side table, and a well shelf in the kitchen. Also

recovered was fifteen bags of suspected cannabis, weighing approximately 3. 7

kilograms inside a suitcase in the hallway. Additional drug paraphernalia was

recovered including a digital scale, heat sealer and baggies, and envelopes

labeled with nicknames.

      7.     On August 27, 2017, at approximately 5:49pm, law enforcement in

Fulton County received information that the black Jeep Grand Cherokee with

California registration was potentially involved in the methamphetamine and

cannabis delivered to the house at 2112 Rainbow Lane. At 6:06pm, Officers

observed the Jeep speeding at 59 miles per hour in a 55 mile per hour zone and

pulled the car over on Lockard Lane. Officers saw BALLARD sitting in the driver's

seat and ROBINSON seated in the front passenger seat. At 6:11pm, a K9 unit

arrived on scene and conducted a dog sniff of the car. The K9 alerted to the car.

BALLARD and ROBINSON complied with a request to step out of the car.

BALLARD denied having any illegal items in the car. Officers searched the car

and found a blue insulated Aldi shopping bag in the back seat of the passenger

side of the car. Inside the Aldi bag was three vacuum-sealed bags of cannabis

weighing 6.55 pounds and a sandwich bag filled with methamphetamine

weighing 8 ounces. Officers also removed $1,550 from BALLARD's person.

Officers field tested the cannabis and methamphetamine, both items tested

positive for controlled substances.

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       8.     Based on the foregoing information, I respectfully submit that there is

probable cause to believe that JASON BALLARD and RYAN ROBINSON, have

violated Title 21, United States Code, Sections 841 (a)(1) and (b)(1 )(B), by

possessing with intent to distribute 50 grams or more of a mixture or substance

containing a detectable amount of methamphetamine, a schedule II controlled

substance. This violation occurred in Fulton County, Illinois, which is within the

Central District of Illinois.


FURTHER AFFIANT SAYETH NOT.




                                         s/ Robert J. Krivanek

                                        Special Agent, FBI

Subscribed and sworn to before me September 15, 2017



    s/ Tom Schanzle-Haskins

                          INS
                       AGISTRATE JUDGE




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